Case 04-31554-hdh11 Doci1 Filed 02/04/04 Entered 02/04/04 20:20:59 Desc Main

Document

Page 1 of 20

VOLUNTARY PETITION

United States Bankruptcy Court
Northern District of Texas
Dallas Division

VOLUNTARY PETITION

(Name of Debtor (if individual, enter Last, First, Middle):
DON PABLO'S OF TEXAS, LP

Name of Joint Debtor (Spouse) (Last, First, Middle):

All Other Names used by Debtor in the last 6 years

(include married, maiden, and trade names):
DF&R Restaurants of Texas, LP

All Other Names used by Joint Debtor in the last 6 years
(include married, maiden, and trade names):

Soe. Sec./Tax I.D. No. (if more than one, state all):
XX-XXXXXXX

Soc. Sec./Tax I.D. No. {if more than one, state all):

Street Address of Debtor (No. & Street, City, State & Zip Code):
Hancock at Washington
Madison, Georgia 30650

Street Address of Debtor (No. & Street, City, State & Zip Code):

County of Residence or of the
Principal Place of Business:
Morgan County

County of Residence or of the
Principal Place of Business:

Mailing Address of Debtor (if different from street address):

Mailing Address of Joint Debtor (if different from street address):

Location of Principal Assets of Business Debtor
(if different from addresses listed above):

The principal assets of Don Pablo's of Texas, LP, the lead Debtor in these cases, are located in the Northern District of Texas. Don Pablo's of Texas, LP owns and
operates all of the Debtors' 11 Don Pablo's restaurants located in Texas, 10 of which are located in the Northern District of Texas. The 10 restaurants in the
Northern District of Texas are located in Arlington, Bedford, Ft. Worth (2 restaurants), Grand Prairie, Grapevine, Irving, Lubbock, Mesquite and North Richland
Hills. The other restaurant located in Texas and owned and operated by Don Pablo's of Texas, LP is located in Lewisville in the Eastern District of Texas.

INFORMATION REGARDING DEBTOR (cheek the Applicable Boxes)

Venue (Check any applicable box)

or for a longer part of such 180 days than in any other District.

& Debtor has been domiciled or has had a residence, principal place of business or principal assets in this District for 180 days immediately preceding the date of this petition

O There is a bankruptcy case conceming debtor's affiliate, general partner, or partnership pending in this District.

Type of Debtor (Check all boxes that apply)
O Railroad
O Stockbroker
0 Commodity Broker

O Individual
0 Corporation
& Partnership
O Other

Nature of Debts (Check one box)
© Consumer/Non-Business ® Business

Chapter or Section of Bankruptcy Code Under Which
the Petition Is Filed (Check one box)
D Chapter 7 & Chapter 11 O Chapter 13
O Chapter 9 O Chapter 12
O Sec. 304-Case ancillary to foreign proceeding

Chapter 11 Small Business (Check all boxes that apply)
O Debtor is a small business as defined in 11 U.S.C. § 101.
O Debtor is and elects to be considered a small business under
11 U.S.C. § 1121(e). (optional)

Filing Fee (Check one box)
® Full Filing Fee attached.
Q Filing Fee to be paid in installments (Applicable to individuals only)
Must attach signed application for the court's consideration certifying that the

debtor is unable to pay fee except in installments, Rule 1006(b). See Official
Form No. 3.

Statistical/Administrative Information(Estimates only) THIS SPACE 1S FOR COURT USE
& Debtor estimates that funds will be available for distribution to unsecured creditors. ONLY
O Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will
be no funds available for distribution to unsecured creditors
Estimated Number of Creditors 1-15 16-49 50-99 100-199 200-999 1,000-over*
oO Oo Oo Oo BQ

Estimated Assets
$0 lo $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 to $50,000,001 to More than
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million *

OD Oo Oo oO Oo oO Oo 8
Estimated Debts
$0 lo $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 to $50,000,001 to More than
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million*

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* The estimates reflect consolidated information from Avado Brands, Inc. and its affiliates (collectively, the "Avado Entities", listed on the
attached Annex A) filing voluntary petitions with the United States Bankruptcy Court for the Northern District of Texas - Dallas Division

on February LY, 2004.

Case 04-31554-hdh11 Doci1 Filed 02/04/04 Entered 02/04/04 20:20:59 Desc Main

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VOLUNTARY PETITION DUCOTTTCTIC

(This page must be completed and filed in every case)

DS fy £ AD.
Named? Debtor(sy: ”
DON PABLO'S OF TEXAS, LP

Form B1, Page 2

Prior Bankruptcy Case Filed Within L
Location
Where Filed: None

ast 6 Years (if more than one, attach additional sheet)

Case Number: Date Filed:

Pending Bankruptcy Case Filed by Any Spouse, Partner, or Affiliate of this Debtor (1 more than one,

attach additional sheet.)

IName of Debtor: See Annex A Case Number: Date Filed:
District: Relationship: Judge:
SIGNATURES

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in this petition is
true and correct.
[If petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7] 1am aware that I may proceed under chapter 7, 11, 12
lor 13 of title 11, United States Code, understand the relief available under each such
chapter, and choose to proceed under chapter 7.
I request relief in accordance with the chapter of title 11, United States Code, speci-
fied in this petition.

x
Signature of Debtor

xX
Signature of Joint Debtor

Telephone Number (If not represented by attorney)

Date

Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this petition is
true and correct, and that I have been authorized to file this petition on behalf of the
debtor.

nce with the chapter of title 11, United States

COLA

x
Signature of Authored Afidividual

Kevin J. Leary
Name of Authorized Individual

Authorized Signatory for Don Pablo's of Texas, LP
Title of Authorized Individual

February gf 2004
Date

ie Le of Attorney
ole a Debtor(s)

George N. Panagakis
Printed Name of Attorney for Debtor(s)

Skadden, Arps, Slate, Meagher & Flom LLP
Firm Name

333 W. Wacker Drive, Chicago, IL_ 60606-1285
Address

(312) 407-0700
Telephone Number

February u 2004
Date

Signature of Non-Attorney Petition Preparer

I certify that l am a bankruptcy petition preparer as defined in 11 U.S.C. § 110, that I
prepared this document for compensation, and that I have provided the debtor with a
copy of this document.

Printed Name of Bankruptcy Petition Preparer

Social Security Number

Address

Names and Social Security numbers of all other individuals who prepared or
assisted in preparing this document:

EXHIBIT A
(To be completed if debtor is required to file periodic reports (e.g., forms 10K and
10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
lof the Securities Exchange Act of 1934 and is requesting relief under chapter 11)
O Exhibit A is attached and made a part of this petition.

If more than one person prepared this document, attach additional sheets conforming
to the appropriate official form for each person.

Xx
Signature of Bankruptcy Petition Preparer

EXHIBIT B
(To be completed if debtor is an individual whose debts are primarily consumer debts)
1, the attorney for the petitioner named in the foregoing petition, declare that I have
informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of
title 11, United States Code, and have explained the relief available under each such
chapter.

x

Date

A bankruptcy petition preparer's failure to comply with the provisions of title 11
and the Federal Rules of Bankruptcy Procedure may result in fines or imprison-
ment or both 11 U.S.C. § 110; 18 U.S.C.§ 156.

Signature of Attorney for Debtor(s) Date

Case 04-31554-hdh11 Doci1 Filed 02/04/04 Entered 02/04/04 20:20:59 Desc Main

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Document

Page 3 of 20

ANNEX A - AFFILIATED DEBTORS

On the date hereof, the following affiliated entities filed petitions for relief
under Chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court
for the Northern District of Texas - Dallas Division.

Don Pablo's of Texas, LP
Avado Brands, Inc.

Canyon Café of Texas, LP
HNEF Area Manager II, Ltd.
Hops of Altamonte Springs, Ltd.
Hops of Atlanta, Ltd.

Hops of Atlanta II, Ltd.

Hops of Bowling Green, Ltd.
Hops of Boynton Beach, Ltd.

. Hops of Bradenton, Ltd.

. Hops of Cherry Creek, Ltd.

. Hops of Colorado Springs, Ltd.
. Hops of Connecticut, Ltd.

. Hops of Coral Springs, Ltd.

. Hops of Florida Mall, Ltd.

. Hops of Greater Detroit, Ltd.

. Hops of Greater Orlando II, Ltd.
. Hops of Idaho, Ltd.

. Hops of Indiana, Ltd.

. Hops of Lakeland, Ltd.

. Hops of Louisiana, Ltd.

. Hops of Massachusetts

. Hops of Matthews, Ltd.

. Hops of Minnesota, Ltd.

. Hops of Ohio, Ltd.

. Hops of South Carolina, Ltd.

. Hops of South Carolina II, Ltd.
. Hops of Southeast Florida, Ltd.
. Hops of Southwest Florida, Ltd.
. Hops of Stuart, Ltd.

. Hops of the Carolinas, Ltd.

. Hops of the Carolinas II, Ltd.

. Hops of the Gold Coast, Ltd.

. Hops of the Rockies II, Ltd.

. Hops of Virginia II, Ltd.

. The Hops Northeast Florida Joint Venture No. I

. The Hops Northeast Florida Joint Venture No. II
. The Hops Northeast Florida Joint Venture No. III
. Hops of Baltimore County, LLC
. Hops of Missouri, LLC

. Hops of Rhode Island, LLC

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Hops of Greater Boston, Ltd.

Hops of Greater Orlando, Ltd.

Hops of Kansas, Ltd.

Hops of South Florida, Ltd.

Hops of the Ohio Valley, Ltd.

Hops of the Rockies, Ltd.

Hops of Virginia, Ltd.

Avado Operating Corp.

Canyon Café Limited, Inc.

Canyon Café Operating Corp.
Canyon Café TX General, Inc.
Cypress Coast Construction Corporation
Don Pablo's Holding Corp.

Don Pablo's Limited, Inc.

Don Pablo's Operating Corp.

Don Pablo's TX Liquor, Inc.

Don Pablos of Baltimore County, Inc.
Don Pablos of Howard County, Inc.
Don Pablos of Prince George's County, Inc.
Hops Grill & Bar, Inc.

Hops Marketing, Inc.

Hops of the Ohio Valley, Inc.

Hops of Southwest Florida, Inc.
SMAS, Inc.
Case 04-31554-hdh11 Doci1 Filed 02/04/04 Entered 02/04/04 20:20:59 Desc Main
Document Page 4 of 20

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
—-e ee ee ee ee ee ee ee ee er ew eB wee xX
In re :
Chapter 11
DON PABLO'S OF TEXAS, LP,
: Case No. 04- ( )

Debtor. :

== ee eee ee ee ee ee ee ee ee eB ee eB eee we xX

CONSOLIDATED LIST OF CREDITORS HOLDING 50 LARGEST
UNSECURED CLAIMS

The following is a list of the creditors holding the 50 largest unsecured
claims against Don Pablo's of Texas, LP and certain of its subsidiaries and
affiliates (collectively, the "Avado Entities"). The list has been prepared on a
consolidated basis, based upon the books and records of the Avado Entities, all of
which have contemporaneously commenced chapter 11 cases in this Court. The
information presented in this list shall not constitute an admission by, nor is it
binding on, the Avado Entities.'

The list is prepared in accordance with Fed. R. Bankr. P. 1007(d) for
filing in this chapter 11 case. The list does not include (1) persons who come
within the definition of "insider" set forth in 11 U.S.C. § 101 or (2) secured
creditors unless the value of the collateral is such that the unsecured deficiency
places the creditor among the holders of the 50 largest unsecured claims.’

The Avado Entities may file the schedules of assets and liabilities (the “Schedules”) in accordance with 11 U.S.C. § 521 and
Fed. R. Bankr. P. 1007. The information contained in the Schedules may differ from the information set forth below.

The Avado Entities have not yet identified all of the 50 largest unsecured claims, ifany, that are contingent, unliquidated,

disputed and/or subject to setoff. The Avado Entities reserve the right to identify any of the 50 largest unsecured claims in
their Schedules as contingent, unliquidated, disputed and/or subject to setoff, as appropriate.

3
Case 04-31554-hdh11 Doci1 Filed 02/04/04 Entered 02/04/04 20:20:59 Desc Main
Document Page 5 of 20

(1) (2) (3) (4) (5)
NAME OF CREDITOR AND NAME, TELEPHONE NUMBER NATURE Cc AMOUNT OF
COMPLETE MAILING AD- AND COMPLETE MAILING AD- | OF CLAIM U CLAIM
DRESS INCLUDING ZIP CODE DRESS INCLUDING ZIP CODE, (trade debt, D (if secured also
OF EMPLOYEE, AGENT, DE- bank loan, $3 state value of
PARTMENT OF CREDITOR FA- government security)
MILIAR WITH CLAIM contract,
etc.)
eee eee ee reer renee eee
Suntrust - as Indenture Trustee Jack Ellerin 9 3/4% $105,318,000
Suntrust Senior Notes
25 Park Place Due 2006

P.O. Box 105036
Atlanta, GA 30303
P: 404-588-7296
F: 404-588-7335

Suntrust - as Indenture Trustee Jack Ellerin 11 3/4% $47,625,000
Suntrust Senior
25 Park Place Subordinated
P.O. Box 105036 Notes Due
Atlanta, GA 30303 2009

P: 404-588-7296
F: 404-588-7335

Wachovia Bank - as Trustee Paul Henderson $3.50 Term $3,179,500
Wachovia Bank Convertible
999 Peachtree St. NE Securities,
1100 Peachtree Plaza Series A

Atlanta, GA 30309
P: 404-332-5274
F: 404-332-5295

COI col Trade Debt $1,419,390
c/o Fleet Bank
P.O. Box 538135
Atlanta, Georgia 30353-8135
P: 615-231-4444
F: 615-312-3288

The Debtors have not yet identified which of the 50 largest unsecured claims, if any, are contingent, unliquidated, disputed
and/or subject to setoff. The Debtors reserve the right to identify any of the 50 largest unsecured claims in this consolidated
schedule (and any subsequent schedules as may be filed) as contingent, unliquidated, disputed and/or subject to setoff, as
appropriate.
Case 04-31554-hdh11 Doci1 Filed 02/04/04 Entered 02/04/04 20:20:59 Desc Main
Document Page 6 of 20

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PARTMENT OF CREDITOR FA- government security)
MILIAR WITH CLAIM contract,
etc.)
eee eee eee eee eee eee eee
Westwayne, Inc. Lisa Cuscaden Trade Debt $794,192

Westwayne, Inc.

401 East Jackson St. - Suite 3600
Tampa, FL 33602

P: 813-202-1200

F: 813-202-1261

eee reer ee eee rere eee eee eenee eee a
Dallas Basketball Ltd. Dallas Basketball Ltd. Trade Debt $177,267

2909 Taylor St.
Dallas, TX 75226
P: 214-747-6297

F: 214-658-7122

Walt Disney Parks & Resorts Hector Cruz Trade Debt $162,067
Walt Disney Parks & Resorts
PO Box 403411

Atlanta, GA 30384-3411

P: 407-828-4780

F: 407-828-4320

Briargrove Tollway Ltd. Briargrove Tollway Ltd. Trade Debt $131,083
4770 Kent Ave. - Suite 100
Montreal, QC H3W1H2

P: 514-731-8585

F: 514-731-8632
Neen eee eee eee eee eee eee eee

Sedgwick Claims Mgmt. Service Sedgwick Claims Mgmt. Service Professional $107,174
PO Box 2066 Fees
Memphis, TN 38101-2066
P: 901-684-4076
F: 404-240-4600

Case 04-31554-hdh11 Doci1 Filed 02/04/04 Entered 02/04/04 20:20:59 Desc Main

Document Page 7 of 20

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PARTMENT OF CREDITOR FA- government security)
MILIAR WITH CLAIM contract,
etc.)
eee eeeeeeeeee eee eeeeeeeeeeeeeee errr e reer
AFCO AFCO Trade Debt $104,509
Dept 0809

Dallas, TX 75312-0809
P: 800-288-6901
F: 913-491-6638

Palace Resorts, Inc. Palace Resorts, Inc. Trade Debt $95,000
8725 NW 18th Terrace
Suite 301

Miami, FL 33172

P: 800-635-1836

F: 305-416-6505

Curtis 1000, Inc. Curtis 1000, Inc.
PO Box 102347
Atlanta, GA 30368-2347
P: 770-925-4500

F: 800-422-7715

Trade Debt $86,697

Beltram Foodservice Group Beltram Foodservice Group Trade Debt
6800 N. Florida
Tampa, FL 33604
P: 813-239-1136

F: 813-237-6346

$80,455

Cushman and Wakefield, Inc. Cushman and Wakefield, Inc.
51 West 52nd St.

New York, NY 10019-6178
P: 212-841-7500

F: 212-841-7849

Trade Debt $78,053

Case 04-31554-hdh11 Doci1 Filed 02/04/04 Entered 02/04/04 20:20:59 Desc Main

Document Page 8 of 20

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OF EMPLOYEE, AGENT, DE- bank loan, S state value of

PARTMENT OF CREDITOR FA- government security)

MILIAR WITH CLAIM contract,
etc.)

ea a
Sirna & Sons Produce Sirna & Sons Produce Trade Debt $71,092
7307 Aurora Rd.
Aurora, OH 44202
P: 330-562-5221

F; 330-562-2995
———

Trade Debt $66,303

Piazza Produce

PO Box 68931

Indianapolis, IN 46268-0931
P: 317-872-0101

F: 317-872-4411
Cee aS Se

Unifirst Corporation Unifirst Corporation Trade Debt $60,693
PO Box 911526
Dallas, TX 75391
P: 904-737-1767

F: 904-737-1476
Cee ee ee eee a SS -
ee —__—_—eeeeeeeeeeeeeaeeaeee ee — — ee

Piazza Produce

Benchmarc Meetings & Incentives, Benchmarc Meetings & Trade Debt $60,650
Inc. Incentives, Inc.

3220 Pointe Parkway

Suite 500

Norcross, GA 30092-3346
P: 678-291-0011

F: 678-291-9020
Renee ey a enced

Brothers Produce, Inc. Brothers Produce, Inc. Trade Debt $57,164
PO Box 1207

Friendswood, TX 77549-1207
P: 800-282-4196

F: 713-921-3060

Case 04-31554-hdh11 Doci1 Filed 02/04/04 Entered 02/04/04 20:20:59 Desc Main

Document Page 9 of 20

(1)
NAME OF CREDITOR AND
COMPLETE MAILING AD-
DRESS INCLUDING ZIP CODE

J.D. Edwards & Company

Brains on Fire

Dunedin Fish Co.

The Invironmentalists

Dunbar Armored

Floyd, Isgur, Rios & Wahrlich, PC

(2)
NAME, TELEPHONE NUMBER
AND COMPLETE MAILING AD-
DRESS INCLUDING ZIP CODE,
OF EMPLOYEE, AGENT, DE-
PARTMENT OF CREDITOR FA-
MILIAR WITH CLAIM

J.D. Edwards & Company
Dept. 770

Denver, CO 80271-0770
P: 303-773-3732

F: 303-334-4678

Brains on Fire

148 River St. - Suite 100
Greenville, SC 29601

P: 864-676-9663

F: 864-676-0001

Dunedin Fish Co.
5018 N. Hubert Ave.
Tampa, FL 33614
P: 813-354-1704
F: 813-354-1904

The Invironmentalists
PO Box 403447

PC 112

Atlanta, GA 30384-3447
P: 770-420-7963

F: 770-420-7900

Dunbar Armored

PO Box 333

Baltimore, MD 21203-0333
P: 800-888-2129

F: 410-229-1881

Floyd, Isgur, Rios & Wahrlich, PC
700 Louisiana Suite 4600
Houston, TX 77002-2732

P: 713-222-1470

F: 713-222-1475

(3) (4) (5)
NATURE Cc AMOUNT OF
OF CLAIM U CLAIM
(trade debt, D (if secured also
bank loan, S state value of
government security)
contract,
etc.)
a
Trade Debt $50,888
Trade Debt $50,335

Trade Debt $48,733

Trade Debt $48,505

Trade Debt $47,946

Professional
Fees

$47,890

Case 04-31554-hdh11 Doci1 Filed 02/04/04 Entered 02/04/04 20:20:59 Desc Main
Document Page 10 of 20

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OF EMPLOYEE, AGENT, DE- bank loan, Ss state value of

PARTMENT OF CREDITOR FA- government security)

MILIAR WITH CLAIM contract,
ete.)

J. Ambrogi Food Distribution Inc. J. Ambrogi Food Distribution Inc. Trade Debt $46,663
1400 Metropolitan Ave.
Thorofare, NJ 08086

P: 856-845-0377

F: 856-845-3748

Ecolab Ecolab Trade Debt $43,131
PO Box 70343

Chicago, IL 60673-0343
P: 800-352-5326

F: 651-885-3098

Minnesota Vikings Minnesota Vikings Trade Debt $42,514
9520 Viking Dr.
Eden Prairie, MN 55344-3898
P: 952-828-6500
F: 952-828-6575

Bix Produce Co. Bix Produce Co. Trade Debt $40,386
1415 L'Orient St.
St. Paul, MN 55117
P: 800-642-9514
F: 651-487-1314

Venture Construction Co. Venture Construction Co. Trade Debt $39,379

PO Box 4175

Norcross GA 30091-4175
P: 770-441-2404

F: 770-441-6566

Service Management Group Service Management Group Trade Claim $37,179
210 W. 19th Terrace
Suite 200

Kansas City, MO 64108
P; 800-764-0439

F: 816-448-4599

Case 04-31554-hdh11 Doci1 Filed 02/04/04 Entered 02/04/04 20:20:59 Desc Main
Document Page 11 of 20

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OF EMPLOYEE, AGENT, DE- bank loan, S state value of

PARTMENT OF CREDITOR FA- government security)

MILIAR WITH CLAIM contract,
etc.)

Pelican Aire Pelican Aire Trade Debt $37,106
12815-A Automobile Blvd.
Clearwater, FL 33762

P: 727-573-5733

F: 727-573-2573

The Graphic Cow The Graphic Cow Trade Debt $35,438
119 Front St.
Liberty, SC 29657
P: 864-843-0065
F: 877-472-3329

Dimension Construction Dimension Construction Trade Debt $34,719
3776 New Getwell Rd.
Memphis, TN 38118
P: 901-794-9292

F: 901-794-9395

SRE, Inc. SRE, Inc. Trade Debt $34,200
1428 Brickell Ave. - Suite 501
Miami, FL 33131
P: 305-579-5888
F: 305-579-5885

Coastal Sunbelt Produce Coastal Sunbelt Produce Trade Debt $33,724
7477 Candlewood Rd.
Hanover, MD 21076
P: 800-860-9799

F: 410-694-4053

Joe Lasita & Sons, Inc. Joe Lasita & Sons, Inc. Trade Debt $33,684
940 West Sth St.
Cincinnati, OH 45203
P: 513-241-5288
F: 513-241-5289

Case 04-31554-hdh11 Doci1 Filed 02/04/04 Entered 02/04/04 20:20:59 Desc Main

Document Page 12 of 20

(1)
NAME OF CREDITOR AND
COMPLETE MAILING AD-
DRESS INCLUDING ZIP CODE

Trimark Foodcraft

Weyand Food Distributors, Inc.

Abacus Business Computers

Tensaw Land & Timber, Inc.

Equiptech

Johnson Brothers - St. Paul

(2)
NAME, TELEPHONE NUMBER
AND COMPLETE MAILING AD-
DRESS INCLUDING ZIP CODE,
OF EMPLOYEE, AGENT, DE-
PARTMENT OF CREDITOR FA-
MILIAR WITH CLAIM

Trimark Foodcraft

Dept at 952107

Atlanta, GA 31192-2107
P: 336-768-7520

F: 336-768-1708

Weyand Food Distributors, Inc.
2707 E. Wilder Ave.

Tampa, FL 33610

P: 813-236-5923

F: 813-237-8410

Abacus Business Computers
15301 Roosevelt Blvd.
Suite 303

Clearwater, FL 33760

P: 727-524-0177

F: 727-524-0188

Tensaw Land & Timber, Inc.
PO Box 16147

Mobile, AL 36616

P: 251-340-8380

Equiptech

2055 West 73 St.
Hialeah, FL 33016
P: 305-231-1482
F: 305-826-9131

Johnson Brothers - St. Paul
1999 Shepard Rd.

St. Paul, MN 55116

P: 651-649-5800

F: 651-649-5826

(3)
NATURE
OF CLAIM
(trade debt,
bank loan,
government
contract,
ete.)

Trade Debt

Trade Debt

Trade Debt

Trade Debt

Trade Debt

Trade Debt

asaas

(5)
AMOUNT OF
CLAIM
(if secured also
state value of
security)

$31,196

$29,611

$26,477

$25,900

F: 251-340-8387

$25,705

$25,196

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Case 04-31554-hdh11 Doci1 Filed 02/04/04 Entered 02/04/04 20:20:59 Desc Main
Document Page 13 of 20

(1) (2) (3) (4) (5)

NAME OF CREDITOR AND NAME, TELEPHONE NUMBER NATURE Cc AMOUNT OF

COMPLETE MAILING AD- AND COMPLETE MAILING AD- | OF CLAIM U CLAIM
DRESS INCLUDING ZIP CODE DRESS INCLUDING ZIP CODE, (trade debt, D (if secured also
OF EMPLOYEE, AGENT, DE- bank loan, Ss state value of

PARTMENT OF CREDITOR FA- government security)

MILIAR WITH CLAIM contract,
etc.)

What They Think Research, LLC What They Think Research, LLC Trade Debt $24,500
3808 Richland Ave.
Nashville, TN 37205
P: 615-383-4446

F: 615-463-0602

The Boelter Co., Inc. The Boelter Co., Inc. Trade Debt $24,172
PO Box 1451

Milwaukee, WI 53201-1451
P: 800-392-3278

F: 414-461-5058

Weyland East Weyland East Trade Debt $23,695
PO Box 310259
Tampa, FL 33680-0259
P: 407-858-9000

F: 407-858-9854
Neen eeeee ee a

First Data Corp. First Data Corp. Trade Debt $23,229
IPS/Valuelink

PO Box 2021

Englewood, CO 80105-2021
P: 303-488-8000

F: 720-332-0553

Tarantino Foods, LLC Tarantino Foods, LLC Trade Debt $23,131
530 Bailey Ave.
Buffalo, NY 14206-3017
P: 888-823-4200

F: 716-823-1718

an
Quality Refrigeration, Inc. Quality Refrigeration, Inc. Trade Debt $23,060
6237 Penn Ave So. - Suite 100
Richfield, MN 55423
P: 612-861-7350
F: 612-861-7366

12
Case 04-31554-hdh11 Doci1 Filed 02/04/04 Entered 02/04/04 20:20:59 Desc Main
Document Page 14 of 20

Servicecheck, Inc. Servicecheck, Inc. Trade Debt $22,131
PO Box 101373
Atlanta, GA 30392
P: 770-916-6700
F: 770-916-6710

13
Case 04-31554-hdh11 Doci1 Filed 02/04/04 Entered 02/04/04 20:20:59 Desc Main
Document Page 15 of 20

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF
CORPORATION OR PARTNERSHIP

I, Kevin J. Leary, of Don Pablo's of Texas, LP, declare under penalty of
perjury that Ihave read the foregoing list and that it is true and correct as of

February4, 2004, to the best of my knowledge, RG
Dated: February {f, 2004 Signature: Grr
Name: Kevii- ¥ Leary \}
forDon

Authorized Signatory
Pablo's of Texas, LP

13
Case 04-31554-hdh11 Doci1 Filed 02/04/04 Entered 02/04/04 20:20:59 Desc Main
Document Page 16 of 20

RESOLUTIONS OF DON PABLO'S OF TEXAS, LP

Dated as of February f, 2004

Pursuant to Section 4.05 of the Texas Revised Limited Partnership
Act and the Agreement of Limited Partnership of Don Pablo's of Texas, LP, a
Texas Limited Partnership (the "Limited Partnership"), the undersigned, as sole
general partner of the Limited Partnership (the "General Partner"), does hereby
adopt the following Resolutions:

WHEREAS, the General Partner has been presented
with a proposed petition to be filed by the Limited Partnership
in the United States Bankruptcy Court for the Northern Dis-
trict of Texas - Dallas Division (the "Bankruptcy Court")
seeking relief under the provisions of chapter 11 of title 11 of
the United States Code, in which the authority to operate as a
debtor-in-possession will be sought; and

WHEREAS, the General Partner has reviewed the
proposed petition and wishes to take actions that are in the
best interests of the Limited Partnership, its creditors, its
partners and other interested parties.

NOW THEREFORE, BE IT RESOLVED, that in the
judgment of the General Partner it is desirable and in the best
interests of the Limited Partnership, its creditors, its partners
and other interested parties, that a petition be filed by the
Limited Partnership in the Bankruptcy Court seeking relief
under the provisions of chapter 11 of title 11 of the United
States Code (the "Bankruptcy Code"), in which the authority
to operate as a debtor-in-possession will be sought, and the
filing of such petition is authorized hereby; and it is further

RESOLVED, that each of Kevin J. Leary, Michael A.
Feder, Louis J. Profumo and Edward M. Burr be appointed by
the General Partner as an authorized signatory (each, an "Au-
thorized Signatory") and a Vice President and Assistant Secre-
tary in connection with the chapter 11 case authorized herein;

15
Case 04-31554-hdh11 Doci1 Filed 02/04/04 Entered 02/04/04 20:20:59 Desc Main
Document Page 17 of 20

and it is further

RESOLVED, that each Authorized Signatory and each
officer of the Limited Partnership, together with any other
person or persons hereafter designated by the General Partner,
or any one of such persons (each, individually, an "Authorized
Officer," and, individually and collectively, the "Authorized
Officers") be, and each of them hereby is, authorized, empow-
ered and directed, on behalf of the Limited Partnership, to
execute and verify a petition in the name of the Limited Part-
nership under chapter 11 of the Bankruptcy Code and to cause
the same to be filed in the Bankruptcy Court in such form and
at such time as the Authorized Officer executing said petition
on behalf of the Limited Partnership shall determine; and it is
further

RESOLVED, that the Authorized Officers be, and each
of them hereby is, authorized, directed and empowered, on
behalf of and in the name of the Limited Partnership, to exe-
cute and/or file, or cause to be executed and/or filed (or to
direct others to do so on their behalf as provided herein) all
necessary documents including, but not limited to, all peti-
tions, affidavits, schedules, motions, lists, applications, plead-
ings and other papers, and in that connection to employ and
retain all assistance by legal counsel, accountants or other
professionals and to take any and all other action, that they or
any of them deem necessary, proper or desirable in connection
with the chapter 11 case contemplated hereby, with a view to
the successful prosecution of such case; and it is further

RESOLVED, that the Authorized Officers be, and each
of them hereby is, authorized and empowered, in the name and
on behalf of the Limited Partnership, to take or cause to be
taken, from time to time, any and all such further action and to
execute and deliver, or cause to be executed and delivered, all
such further agreements, documents, certificates and undertak-
ings including, but not limited to, amendments to the docu-
ments contemplated hereby following the effectiveness

16
Case 04-31554-hdh11 Doci1 Filed 02/04/04 Entered 02/04/04 20:20:59 Desc Main
Document Page 18 of 20

thereof, and to incur all such fees and expenses as in their
judgment shall be necessary, appropriate or advisable, to
effectuate the purpose and intent of the foregoing resolutions;
and it is further

RESOLVED, that the Limited Partnership as debtor
and debtor-in-possession under chapter 11 of the Bankruptcy
Code be, and it hereby is, authorized to enter into a debtor-in-
possession financing facility, and in connection therewith, to
grant any guarantees, pledges, mortgages, and other security
instruments containing such provisions, terms, conditions,
covenants, warranties and representations as may be deemed
necessary or appropriate by any Authorized Officer to obtain
such debtor-in-possession financing for the Limited Partner-
ship or its subsidiaries and affiliates; and it is further

RESOLVED, that the Authorized Officers be, and each
of them hereby is, authorized and empowered to execute,
deliver, and perform for and on behalf of the Limited Partner-
ship, as debtor and debtor-in-possession, any documents,
agreements, guaranties, instruments, financing statements,
undertakings and certificates necessary or appropriate to facili-
tate the transactions contemplated by the foregoing resolution
including, but not limited to, any credit agreement, promissory
note, letter of credit application, or other document evidencing
the obligations of the Limited Partnership under the debtor-in-
possession financing, and any modifications or supplements
thereto, all such materials to be in the form approved by such
Authorized Officers, the execution and delivery thereof to be
conclusive evidence of such approval; and it is further

RESOLVED that the Authorized Officers be, and each
of them hereby is, authorized and empowered for and in the
name and on behalf of the Limited Partnership to amend,
supplement or otherwise modify from time to time the terms
of any documents, certificates, instruments, agreements or
other writings referred to in the foregoing resolutions; and it is
further

17
Case 04-31554-hdh11 Doci1 Filed 02/04/04 Entered 02/04/04 20:20:59 Desc Main
Document Page 19 of 20

RESOLVED, that the law firm of Skadden, Arps,
Slate, Meagher & Flom LLP, 333 West Wacker Drive, Chi-
cago, Illinois 60606-1285, and its affiliated law practice enti-
ties be, and hereby are, employed under a general retainer as
attorneys for the Limited Partnership in the chapter 11 case;
and it is further

RESOLVED, that the Authorized Officers be, and each
of them hereby is, authorized and empowered, in the name and
on behalf of the Limited Partnership, to retain such other
professionals as they deem appropriate during the course of
the chapter 11 case; and it is further

RESOLVED that the Authorized Officers be, and each
of them hereby is, authorized, in the name and on behalf of the
Limited Partnership, to take or cause to be taken any and all
such further action and to execute and deliver or cause to be
executed or delivered al! such further agreements, documents,
certificates and undertakings, and to incur all such fees and
expenses as in their judgment shall be necessary, appropriate
or advisable to effectuate the purpose and intent of any and all
of the foregoing resolutions; and it is further

RESOLVED, that all acts lawfully done or actions
lawfully taken by any Authorized Officer to seek relief on
behalf of the Limited Partnership under chapter 11 of the
Bankruptcy Code, or in connection with the chapter 11 case, or
any matter related thereto, including in connection with the
debtor-in-possession financing, be, and they hereby are,
adopted, ratified, confirmed and approved in all respects as the
acts and deeds of the Limited Partnership.

When signed by the General Partner, these resolutions
shall be effective as of the date first written above.

18
Case 04-31554-hdh11 Doci1 Filed 02/04/04 Entered 02/04/04 20:20:59 Desc Main

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Document

Page 20 of 20

IN WITNESS WHEREOF, the undersigned has executed these
Resolutions of the General Partner as of the date first written above.

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: Aq.
Petty V.WyMiams
“SenioyVite President &
Secretary

General Partner:

